      Case 1:08-cv-00822      Document 34       Filed 05/15/2008    Page 1 of 1

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 3.1.3
                               Eastern Division

Bruce Rogers
                                   Plaintiff,
v.                                                    Case No.: 1:08−cv−00822
                                                      Honorable Joan B. Gottschall
Rothbart Properties, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 15, 2008:


        MINUTE entry before Judge Honorable Joan B. Gottschall:Motion to
amend/correct [27] is denied without prejudice. Motion to amend/correct [28] is denied
without prejudice. Motion to amend/correct [29] is denied without prejudice. Movant
failed to deliver courtesy copies of motions to Chambers. Mailed notice(rj, )




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